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  15                                UNITED STATES DISTRICT COURT
  16                              SOUTHERN DISTRICT OF CALIFORNIA

  17   ViaSat, Inc.,                                           Case No. 3:16-cv-00463-BEN-JMA
       a Delaware corporation,
  18                                                           MEMORANDUM OF POINTS AND
  19                    Plaintiff                              AUTHORITIES IN SUPPORT OF
                        and Counter Defendant,                 ACACIA COMMUNICATION,
  20                                                           INC.’S EX PARTE APPLICATION
       v.
  21
       Acacia Communications, Inc.,                            Judge: Hon. Roger T. Benitez
  22   a Delaware corporation,                                 Mag. Judge: Hon. Jan M. Adler
  23
                        Defendant                              NO ORAL ARGUMENT
  24                    and Counter Claimant.                  MOTION UNDER SUBMISSION
  25
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  28
       Memorandum of Points and Authorities in Support                        Case No. 3:16-CV-00463-BEN-JMA
       of Acacia Communications, Inc.’s Ex Parte Application
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   1   I.      INTRODUCTION
   2           This ex parte application seeks an Order clarifying whether the three memoranda
   3   of points and authorities that Plaintiff and Counter Defendant ViaSat, Inc. (“ViaSat”)
   4   filed on February 2, 2018, which totaled 57 pages of briefing noticed for the same
   5   motion day, require Defendant and Counter Claimant Acacia Communications, Inc.
   6   (“Acacia”) to comply with the 25-page limit for its Oppositions under Civil Local Rule
   7   7.1(h). In the alternative, should the Court permit ViaSat’s filings, Acacia seeks an
   8   Order granting Acacia additional pages, totaling up to 57, for its three Oppositions, so
   9   as to match the total pages ViaSat used to brief its three motions.
  10   II.     FACTUAL BACKGROUND
  11           Apart from motions in limine, the filing deadline for pretrial motions was
  12   February 2, 2018. (D.I. 68 at 2). On that day, ViaSat filed three motions: (1) a Motion
  13   for Summary Judgment on Acacia’s Counterclaim for Patent Misappropriation, (2) a
  14   Motion to Exclude Expert Testimony, and (3) a Motion for Partial Summary
  15   Judgment. (D.I. 89, 95, 98). ViaSat set all three of these motions for the same
  16   hearing day, March 5, 2018. (D.I. 89 at 1, D.I. 95 at 1, D.I. 98 at 1). ViaSat’s
  17   Memoranda of Points and Authorities supporting these three motions were 7 pages
  18   (D.I. 89-1), 25 pages (D.I. 95-1), and 25 pages (D.I. 98-1) respectively. They thus
  19   totaled 57 pages, all set for the same hearing day.
  20           ViaSat did not seek leave of court under Local Rule 7.1(h) for additional pages
  21   beyond the 25 page limit before filing these memoranda. Thus Acacia is left with
  22   having 25 pages total to oppose all three motions—less than half the length ViaSat
  23   submitted in support of its motions—as Acacia’s memoranda “in opposition to all
  24   motions noticed for the same motion day must not exceed a total of twenty-five (25)
  25   pages in length, per party.” CivLR 7.1(h).
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   1   III.    ARGUMENT
   2           A.       Acacia Needs Clarification of Whether Its
                        Oppositions Need To Comply With the Local Rules.
   3
               Civil Local Rule 7.1(h) provides that briefs or memoranda in support of or in
   4
       opposition to all motions noticed for the same motion day must not exceed a total of
   5
       25 pages in length without leave of the judge who will hear the motion. See Swanson v.
   6
       U.S. Forest Serv., 87 F.3d 339, 345 (9th Cir. 1996) (holding that the district court has
   7
       discretion to disregard briefs filed in circumvention of page limits); see also King County
   8
       v. Rasmussen, 143 F. Supp. 2d 1225, 1227 (W.D. Wash. 2001) (striking over length
   9
       briefing in violation of Local Civil Rule 7 and finding that arguments contained in
  10
       those excess pages will not be considered), aff’d, 299 F.3d 1077, 1082 (9th Cir. 2002)
  11
       (“[T]he district court acted properly in granting King County’s motions to strike.”).
  12
               Courts in this district have similarly limited parties to 25 pages of opening or
  13
       opposing briefing per motion hearing day. See Elliott v. QF Circa 37, LLC, No. 16-288,
  14
       2017 WL 5138291, at *2 (S.D. Cal. Nov. 3, 2017) (striking 66-page opposition as the
  15
       “submission thus violates the plain language of Civil Local Rule 7.1(h).”); Traylor Bros.
  16
       v. San Diego Unified Port Dist., No. 08-1019, 2012 WL 1019966, at *3 (S.D. Cal. Mar. 26,
  17
       2012) (denying motion to submit 60-page summary judgment motion as exceeding 25-
  18
       page limit by “35 pages is excessive.”). Motions to exceed the page limit “must be
  19
       granted before a document that exceeds the page limit is filed.” S.E.C. v. Schooler, No.
  20
       12-2164, 2014 WL 1660651, at *1 n.1 (S.D. Cal. Apr. 25, 2014). Just last week, this
  21
       Court struck a motion filed prior to grant of leave to submit excess pages. See Wi-
  22
       LAN, Inc. v. LG Elecs., Inc., No. 17-358, Order Denying Motion for Leave to File
  23
       Excess Pages, Notice of Document Discrepancies, D.I. 88-89 (S.D. Cal. Feb. 1, 2018)
  24
       (Benitez, J.).
  25
               ViaSat noticed its Motions for the same motion day (March 5, 2018), but
  26
       supports them with three Memoranda totaling 57 pages (not counting title pages,
  27
       tables of contents or authorities, or certificates of service). (D.I. 89-1, 95-1, D.I. 98-1).
  28

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   1   ViaSat’s Memoranda thus exceeded the maximum page limit permitted by Local Rule
   2   7.1(h). Acacia respectfully requests clarification as to whether its Oppositions to these
   3   57 pages need to comply with the 25-page limit of the Local Rules.
   4           B.       Good Cause Exists for an Order Extending
                        the Total Page Limit for Acacia’s Oppositions.
   5
               The Federal Rules empower the Court to grant relief from imposed deadlines
   6
       where good cause exists. Fed. R. Civ. P. 6(b)(1) (“When an act may or must be done
   7
       within a specified time, the court may, for good cause, extend the time … with or
   8
       without motion or notice if the court acts, or if a request is made, before the original
   9
       time or its extension expires.”); see also Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253,
  10
       1259 (9th Cir. 2010) (citing with approval, 4B Charles Alan Write & Arthur R. Miller,
  11
       Federal Practice and Procedure § 1615 (3d ed. 2004)), that requests for extensions of time
  12
       made before the applicable deadline has passed should “normally ... be granted in the
  13
       absence of bad faith or prejudice to the adverse party.”)
  14
               Here, good cause exists for the Court to grant an ex parte application for relief
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       from the present deadlines. ViaSat’s filing of 57 pages of briefing all noticed for the
  16
       same motion day presents Acacia with an untenable situation. Absent relief from
  17
       Local Rule 7.1(h), which limits Acacia’s Oppositions to three motions to a collective
  18
       25 pages, Acacia will have less than half the total pages to oppose the motions than
  19
       ViaSat did to support them. In short, absent an extension to file more than 25 total
  20
       pages of Oppositions, Acacia will suffer irreparable harm because it will not have
  21
       sufficient pages to respond to the 32 extra pages of arguments in ViaSat’s Memoranda.
  22
               C.       The Requested Relief Will Not Prejudice ViaSat.
  23
               The ex parte relief requested will not prejudice ViaSat. The Civil Local Rules are
  24
       set for a reason, thus clarifying whether ViaSat’s actions comply with the Rules should
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       not come as a surprise. At minimum, clarifying whether the same rules apply to
  26
       Acacia in its Oppositions is not prejudicial, as the Civil Local Rules set the page limit.
  27
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   1           Finally, granting Acacia’s alternative request for additional pages to the
   2   Oppositions so that they have a total equal length to ViaSat’s Memoranda will not
   3   prejudice ViaSat.
   4           D.       Acacia Anticipates that the Requested Additional
                        32 Pages (To Match ViaSat’s Total Pages) Will Suffice.
   5
               Acacia believes an additional 32 pages to the total page limit requirement (to
   6
       match exactly ViaSat’s total pages in its opening Memoranda) will suffice to allow the
   7
       parties space to concisely but fully brief the relevant issues and address ViaSat’s
   8
       arguments.
   9
       IV.     CONCLUSION
  10
               For the above reasons, Acacia respectfully requests that the Court grant Acacia
  11
       ex parte relief for an Order clarifying whether Acacia’s Oppositions must comply with
  12
       25-page limit of Civil Local Rule 7.1(h).
  13
               Alternatively, Acacia respectfully requests the Court grant Acacia ex parte relief
  14
       for an Order extending Acacia’s total Opposition page limit for all three Motions to 57
  15
       pages, i.e., the same length as ViaSat’s Memoranda.
  16
  17
       Date: February 6, 2018                                  Respectfully Submitted,
  18
                                                               WOLF, GREENFIELD & SACKS, P.C.
  19
  20                                                           By: s/Michael A. Albert
                                                               Michael A. Albert
  21
                                                               Hunter D. Keeton
  22                                                           Stuart V. C. Duncan Smith
  23                                                           Attorneys for Defendant and Counter
  24                                                           Claimant Acacia Communications, Inc.
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   1                                      CERTIFICATE OF SERVICE
   2
              I certify that today I am causing to be served the foregoing document by
   3   CM/ECF notice of electronic filing upon the parties and counsel registered as
       CM/ECF Users. I further certify that, to the extent they are not registered CM/ECF
   4
       Users, I am causing the foregoing document to be served by electronic means via
   5   email upon counsel for ViaSat, Inc., per the agreement of counsel.
   6   Date: February 6, 2018                                  s/Michael A. Albert
   7                                                           Michael A. Albert
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